
BERZON, Circuit Judge,
dissenting:
World Vision Inc. maintains that it is a “religious corporation, association, educational institution, or society” and so not covered by Title VII’s prohibition against hiring or discharging employees on the basis of religion. See 42 U.S.C. § 2000e-1(a). If World Vision is right, then it may refuse to hire, and may fire, on the basis of their religious beliefs individuals — like the plaintiffs here — whose jobs have no religious element at all.
Judges O’Scannlain and Kleinfeld agree that World Vision qualifies for the exemption and so can insist that all of its employees share the organization’s belief that “Jesus Christ is God and a member of the Trinity.” My colleagues arrive at this conclusion by fashioning brand new tests for applying the Title VII religious organization exemption.1 Judge O’Scannlain would hold any nonprofit organization can claim the exemption if the organization mentions a “self-identified religious purpose” in its foundational documents; performs activities in furtherance of that avowed religious *1134objective; and “holds itself out to the public” as religious. Opinion of O’Scannlain, J., at 1119. Judge Kleinfeld agrees these three factors are necessary, and would also require that the entity “not engage primarily or substantially in the exchange of goods or services for money beyond nominal amounts.” Concurrence of Kleinfeld, J., at 1133.
Either test would allow a broad range of organizations to refuse to hire and to fire any employee on the basis of religious belief, including organizations that lack any ties to organized religion and perform daily operations entirely secular in nature. As a result, even Judge Kleinfeld’s more restrictive test would transform what has always been a narrow exemption from the general prohibition on religious discrimination into an exceedingly broad one, with no obvious stopping point. I explain below that these expansive standards for invoking the exemption contravene our precedent and the clear language of the statute while fostering the very problem of religious-based inquiries it seeks to cure.
I.
The majority’s characterization of defendant World Vision’s focus and activities is fully accurate. I pause here to emphasize several facts that become significant in the discussion that follows.
According to its website, World Vision is “a Christian humanitarian organization dedicated to working with children, families and their communities worldwide to reach their full potential by tackling the causes of poverty and injustice.” Four of World Vision’s six core “ministries” are described in purely secular terms: caring for children by providing clean water, health care, food and clothing; building self-reliance through technological innovation and training; emergency relief; and educating Americans about global poverty. Although World Vision lists “evangelism” as a ministry, it “never proselytize[s].” Instead, it “integrates Christian activities” into its outreach work by working with local churches and “arranging] for interested children to attend events such as Bible camps or clubs so they can learn more about the Christian faith.” World Vision does not require or urge aid recipients to participate in religious worship or instruction, although it does “offer those opportunities.”
World Vision also does not ordain ministers, and it is not affiliated with any particular church. Partnering with a wide variety of churches, including Methodist, Catholic, Episcopal, Lutheran, and independent sects, World Vision does not require representatives of those churches involved in World Vision activities to sign any document affirming their commitment to the Apostles’ Creed or World Vision’s Statement of Faith.
Finally, the plaintiffs performed completely secular job duties. Spencer worked in a department that provided facilities upkeep; Youngberg worked as a purchaser, warehouse technician, and scheduler; and Hulse was an administrative assistant. World Vision fired them because, although they continued to be practicing Christians, they no longer believed in the Trinity, the idea that “the father, son and holy ghost are one and the same.”
II.
Two earlier Ninth Circuit cases provide guidance — or should, the majority’s determination to push them aside notwithstanding — in assessing whether World Vision falls within the exemption’s intended scope.
The first, EEOC v. Townley Engineering &amp; Manufacturing Company, 859 F.2d 610 (9th Cir.1988) considered whether the exemption covered a for-profit company founded as a “Christian, faith-operated *1135business” and producing mining equipment. Id. at 611-12 (quotations omitted). Addressing that question, we began from the proposition that “Congress’s conception of the scope of [the exemption] was not a broad one. All assumed that only those institutions with extremely close ties to organized religion would be covered. Churches, and entities similar to churches, were the paradigm.” Id. at 618. To determine whether an organization falls within the exemption, we said, “[a]ll significant religious and secular characteristics must be weighed to determine whether the corporation’s purpose and character are primarily religious.” Id.
In Townley, the employer enclosed Gospel tracts in outgoing mail; printed Bible verses on invoices and purchase orders; donated money to churches and other religious entities; and conducted weekly prayer meetings for employees. Nonetheless, Townley was held primarily secular and so not a “religious corporation,” because it was for-profit and unaffiliated with any church, its articles of incorporation included no religious purpose, and it produced a secular product. Id. at 619.
The second seminal Title VII religious exemption ease in this court, EEOC v. Kamehameha Schools/Bishop Estate, 990 F.2d 458 (9th Cir.1993), involved a group of related schools founded pursuant to a bequest that required that all teachers be Protestants. To determine whether the Schools came within the exemption, we considered their purpose, faculty, student body, student activities and curriculum, as well as the fact that the Schools were unaffiliated with any church, and concluded that “the religious characteristics of the Schools consist of minimal, largely comparative religious studies, scheduled prayers and services, quotations of Bible verses ... and the employment of nominally Protestant teachers.” Id. at 463. The Schools, in sum, were “an essentially secular institution operating within an historical tradition that includes Protestantism” and, as such, ineligible for the exemption. Id. at 463-64.
Taken together, Tovmley and Kamehameha Schools direct us to consider whether an organization may avail itself of § 2000e-l’s exemption by applying two broad, interwoven principles. First, “[a]ll significant religious and secular characteristics must be weighed to determine whether the corporation’s purpose and character are primarily religious.” Town-ley, 859 F.2d at 618. Second, “[w]e construe the statutory exemption! ] narrowly,” with the understanding that “only those institutions with extremely close ties to organized religion [are] covered.” Kamehameha Sch., 990 F.2d at 460. The tests advanced by Judges O’Scannlain and Kle-infeld depart from both principles, as I explain below.
III.
The first principle established by Town-ley and Kamehameha Schools is one of methodology — that an understanding of whether an organization is “primarily religious” requires an assessment of observable religious and secular aspects of an organization’s purposes and activities— that is, a fact-based, functional inquiry. Permitting self-definition by purportedly religious organizations, as Judges O’Scann-lain and Kleinfeld would allow, cannot be reconciled with this principle.
The majority acknowledges that Kamehameha Schools and Townley focused on the observable religious or secular nature of the organizations’ attributes, but justifies departing from this approach by asserting that those cases “contain! ] no indication that the religious or secular nature of any particular activity or purpose was in dispute.” Maj. Op. at 1118. This portrayal of our precedents is wrong. Close in*1136spection of Kamehameha Schools, in particular, reveals that the characterization of particular attributes as religious or secular was, in fact, hotly contested by the parties.
Kamehameha Schools held the Schools’ purpose secular despite the Schools’ insistence that “the purpose of the Schools is primarily religious.” Brief of Defendant-Appellee at 25, Kamehameha Sch., 990 F.2d 458 (No. 91-16586). The Schools argued that they “ha[d] steadfastly remained primarily religious in purpose ... for over a century .... it is [our] purpose not only to provide education, but to provide such education in a Protestant Christian atmosphere which pervades every aspect of campus life.” Id. at 20. As evidence of its religious purpose, the Schools cited the existence of the Bishop Memorial Church as “an integral part” of school life; daily prayer in classrooms; the presence of an ordained minister as chaplain; and a religious coursework requirement. Id. at 21. Our independent review of documents created and distributed by the Schools, however, led us to the conclusion that the Schools’ “mission” was “to help native Hawaiians ‘participate in contemporary society for a rewarding and productive life’ by providing a solid education ... and the moral guidance necessary to help students ‘define a system of values.’ ” Kamehameha Sch., 990 F.2d at 465 (brackets omitted). We rejected the Schools’ claim that their central purpose was religious, observing that “the purpose and emphasis of the Schools have shifted over the years from providing religious instruction to equipping students with ethical principles that will enable them to make their own moral judgments.” Id. at 462.
The religious nature of the Schools’ curriculum was also in dispute. The Schools pointed to their curriculum as evidence that the Schools were “primarily religious,” emphasizing that Bible stories were taught by “Christian education teachers” starting in kindergarten and by an ordained minister starting in seventh grade, and that completion of the “Ekalesia” religious instruction program was a graduation requirement. See Brief of Defendant-Appellee at 26, 29. We found that despite these requirements, secular instruction outweighed the religious elements of the curriculum, noting that the Schools “offer a complete array of courses in math, science, English, languages, and social studies, all of which are taught from a secular perspective. No effort is made to instruct students in Protestant doctrine.” Kamehameha Sch., 990 F.2d at 463. Characterizing the curriculum as containing “minimal, largely comparative religious studies” and noting that “[references to Bible verses, comparative religious education, and even prayers and services are common at private schools and cannot suffice to exempt such schools from § 2000e-l,” we rejected the Schools’ contention that they were a religious organization for purposes of Title VII and so allowed to hire and fire employees based on religious belief.2 Id.
The tests advanced by Judges O’Scann-lain and Kleinfeld cannot be squared with our precedent on the grounds that in Kamehameha Schools the “characterizations[of the organizations’ attributes] were not our own.” Maj. Op. at 1118. The Schools had not conceded that their purpose had shifted from religious to secular, nor that the religious components of the curriculum were “minimal.” Rather, those *1137conclusions were derived from our careful analysis of observable religious and secular attributes. Our precedent requires the same method here.
The majority correctly observes that “our case law does not compel us to march down a checklist of considerations” in assessing whether an organization is “primarily religious,” nor does it compel “rigid adherence” to the factors considered by Townley or Kamehameha Schools. Maj. Op. at 1114-15. The relevant characteristics will depend on the type of institution invoking the exemption.3 The variable nature of the inquiry, however, does not relieve us of our obligation to assess “[a]ll significant religious and secular characteristics.” Kamehameha Sch., 990 F.2d at 460. As it is clear that Kamehameha Schools, which relied upon Toimley, cannot be distinguished on the grounds that the characterization of particular attributes as secular or religious was undisputed, we are compelled to follow the mode of analysis prescribed in our two precedential cases. See, e.g., United States v. Hernandez-Castro, 473 F.3d 1004, 1008 (9th Cir. 2007).
IV.
The second principle firmly established by Townley and Kamehameha Schools is a substantive one — that Congress intended the § 2000e-l(a) exemption to apply narrowly, covering “only those institutions with extremely close ties to organized religion ... Churches, and entities similar to churches, were the paradigm.” Kamehameha Sch., 990 F.2d at 460 (quoting Townley, 859 F.2d at 618).4 This narrow reading of the exemption to cover entities that, like churches, exist for the purpose of prayer and religious instruction is required by the plain meaning of the statutory terms and the structure of the statute. When “the statutory language is clear and consistent with the statutory scheme at issue, the plain language of the statute is conclusive and the judicial inquiry is at an end.” Molski v. M.J. Cable, Inc., 481 F.3d 724, 732 (9th Cir.2007).
The tests advanced by Judges O’Scann-lain and Kleinfeld would permit a broad variety of religiously influenced organizations to employ only individuals with prescribed religious beliefs in jobs with no religious function. Whether or not that would be a superior rule, it is one impossible to reconcile with the clear text of the statute.
1.
Title VII’s religious organization exemption provides:
*1138This subchapter shall not apply ... to a religious corporation, association, educational institution, or society with respect to the employment of individuals of a particular religion to perform work connected with the carrying on by such corporation, association, educational institution, or society of its activities.
42 U.S.C. § 2000e-l(a). As I develop below, at common law and in contemporary common legal usage, “religious society” meant a community organized for worship; “religious corporation” referred to a religious society that incorporated to achieve a form that was legally cognizable under civil law. See, e.g., Jones v. Wolf, 443 U.S. 595, 99 S.Ct. 3020, 61 L.Ed.2d 775 (1979) (using “church,” “religious society,” and “religious association” interchangeably). “Where Congress borrows terms of art in which are accumulated the legal tradition and meaning of centuries of practice, it presumably knows and adopts the cluster of ideas that were attached to each borrowed word.” Evans v. United, States, 504 U.S. 255, 259, 112 S.Ct. 1881, 119 L.Ed.2d 57 (1992) (quotations and brackets omitted). We must therefore assume that Congress used the terms “religious corporation, association ... or society” as they were commonly understood: to describe a church or other group organized for worship, religious study, or the dissemination of religious doctrine.5
When Congress enacted the religious organization exemption, the term “religious society” had long been used in legal parlance to apply to organizations formed for the central purpose of communal worship and religious study. See, e.g., Mordecai F. Ham Evangelistic Ass’n v. Matthews, 300 Ky. 402, 189 S.W.2d 524, 527 (1945) (“The term ‘religious society’ is an old one ... it has had a well-understood meaning, being used interchangeably with ‘church’ or some group organized and maintained for the support of public worship.”); U.S. Nat’l Bank v. Poor Hand Maids of Jesus Christ, 148 Wis. 613, 135 N.W. 121, 122 (1912) (“The term ‘religious society’ ... has often been construed by courts.... It is a body of persons who usually meet in some stated place for worship of God and religious instruction.”); State v. Stuth, 11 Wash. 423, 39 P. 665, 666 (1895) (“The words ‘religious society’ ... have their ordinary meaning, and would include all religious societies or congregations met for public worship.”). This usage has remained unchanged since enactment of Title VII’s religious exemption. See, e.g., Parshall Christian Order v. Bd. of Review, Marion County, 315 N.W.2d 798, 802 (Iowa 1982) (“A ‘religious society’ has been defined to be ‘a voluntary association of individuals ... united for the purpose of having a common place of worship and to provide a proper teacher to instruct them in religious doctrines and duties.’ ” (citation omitted)).
While “religious association” does not appear to have a distinct meaning, the Supreme Court has deployed the term as a *1139synonym for “church.” See, e.g., Kedroff v. St. Nicholas Cathedral of Russian Orthodox Church, 344 U.S. 94, 114, 73 S.Ct. 143, 97 L.Ed. 120 (1952) (noting the “[unquestioned] right to organize voluntary religious associations to assist in the expression and dissemination of ... religious doctrine” (quoting Watson v. Jones, 13 Wall. 679, 80 U.S. 679, 728-29, 20 L.Ed. 666 (1871))). Canons of statutory interpretation also suggest that “association” must be interpreted to have a similar meaning as “society” in this context. See United States v. Alvarez-Gutierrez, 394 F.3d 1241, 1253 (9th Cir.2005) (“The traditional canon of construction, noscitur a sociis, dictates that words grouped in a list should be given related meaning.” (quotation omitted)).6
As with the terms “religious society” and “religious association,” Congress must be presumed to have been aware of the established legal meaning of the term “religious corporation.” That term has consistently referred to the legally-recognized form created by a religious society or association so that it could assert property and other rights under civil law. In colonial America, religious societies were able to incorporate only upon receiving special charters from the Crown or colonial legislature, rarely granted to any religious societies other than the Church of England. R.H. Tyler, The Law of Religious Societies 133, 135 (1866).7 Incorporation thus originally symbolized state sponsorship of religion. After the American Revolution, consequently, religious societies were largely unincorporated. See Turpin v. Locket, 10 Va. 113, 6 Call 113 (1804) (holding that, because the Church of England’s privileged legal status had been eliminated by the revolution, “[t]hat church, formerly paramount and triumphant, has now taken its just and equal station with other religious societies,” and therefore its religious successor, the Episcopalian Church, had no claim to its former holdings).
Without a corporate existence it was impossible for churches to hold property. The Virginia courts, for example, refused to let the Catholic Church of Richmond take possession of property bequeathed it by a donor because the Church lacked a fixed identity under the law. See Gallego’s Ex’rs v. Att’y Gen., 30 Va. 450 (1832) (“[A]s the society or congregation is not incorporated ... who are to be regarded as the beneficiaries?”). Churches therefore sought corporate status, to assure “the institutional identity that was provided by internal governance and the assurance of immortality.” Liam Séamus O’Mel-inn, Neither Contract nor Concession: The Public Personality of the Corporation, 74 Geo. Wash. L. Rev. 201, 223 (2006); see, e.g., Kedroff, 344 U.S. at 128, 73 S.Ct. 143 (Jackson, J., dissenting) (“[T]his denomination wanted the advantages of a corporate charter for its Cathedral, to obtain immunity from personal liability or other benefits.”); Baltimore &amp; P.R. Co. v. Fifth Baptist Church, 108 U.S. 317, 330, 2 S.Ct. 719, 27 L.Ed. 739 (1883) (“[T]he Fifth Baptist Church[] was incorporated that it might hold and use an edifice, erected by it, as a place of public worship for its members ... ”). States responded by passing statutes permitting religious societies to incorporate. See, e.g., Mckinney’s Religious Corporations § 4 (permitting “property of *1140an unincorporated church, or ... religious society, body, association or congregation” to become the property of the corporation upon incorporation); 13 Maine Rev. Stat. § 2861 (establishing a procedure for any group “desirous of becoming an incorporated parish or religious society”); N.H.Rev.Stat. § 306:4 (“[Trustees, deacons, church wardens or other similar officers of churches or religious societies ... shall be deemed bodies corporate ... ”); Mass. Gen. Laws 67 § 23 (establishing a process by which those “who desire to form a religious society ... shall become a corporation”); Conn. Gen.Stat. § 33-264d (“Any religious society may become a religious corporation.... ”).
The term “religious corporation” thus had a clear and universal meaning at the time Congress enacted § 2000e-l(a) of Title VII: It referred to the legally cognizable form of a religious society, which in turn was commonly understood to mean a church or similar entity organized for the purpose of worship. See Black’s Law Dictionary 368 (8th ed.2004) (defining “religious corporation” as “a corporation created to carry out some ecclesiastical or religious purpose”). Entities consisting of coreligionists but organized around secular purposes or activities were outside the term’s scope. See State v. Hutterische Bruder Gemeinde, 46 S.D. 189, 191 N.W. 635, 643 (1922) (holding that an organization whose principal purpose was farming and only “lastly and secondarily” religion was not a religious corporation); Franta v. Bohemian Roman Catholic Cent. Union, 164 Mo. 304, 63 S.W. 1100, 1102 (1901) (holding that a Catholic fraternal beneficiary society was “in no sense a religious corporation. It is not formed to teach or propagate the religious faith, but to cultivate the spirit of fraternity among its members.... ”).
In short, in delineating the statutory exemption Congress chose words that, through a long common law and statutory history, signified organizations that existed for the purpose of worship and religious learning. Given that established understanding, the plain meaning of the language used conforms with — indeed, dictates^ — the narrow scope for the exemption recognized in Townley and Kamehameha Schools.8 Neither Judge O’Scannlain nor Judge Kleinfeld explains why this Court should depart from the traditional presumption that Congress intended these terms of art to retain their traditional common law and statutory meanings.
2.
A structural analysis of Title VII as a whole supports this conclusion. Section 2000e-l(a) is one of three exceptions carved out of Title VII for the purpose of accommodating religious freedom. There is, in addition, a judicially-created “ministerial” exception designed to address this concern. When viewed in the context of the other exceptions, it becomes clear that the exemption at issue here serves a purpose unique to churches and other pervasively religious societies and is meant to be confined to such associations.
*1141First, courts have carved out a broad “ministerial exception” to Title VII “in order to insulate the relationship between a religious organization and its ministers from constitutionally impermissible interference by the government.” Elvig v. Calvin Presbyterian Church, 375 F.3d 951, 955 (9th Cir.2004) (quoting Bollard v. Cal. Province of the Soc’y of Jesus, 196 F.3d 940, 945 (9th Cir.1999)). The ministerial exception doctrine holds that the federal constitution’s Establishment and Free Exercise Clauses require courts to “defer without further inquiry” to “decision-making about who shall be a minister of the Church,” even if the decision is based on a classification, such as race or sex, otherwise proscribed by Title VII. Id. at 958. The doctrine thus forbids judicial review of the doctrinal reasons asserted for discriminating on a proscribed basis with regard to ministers. See id. at 961.
Moreover, any organization may “hire and employ” on the basis of religion where religion is a “bona fide occupational qualification [BFOQ] reasonably necessary to the normal operation of that particular business or enterprise.” 42 U.S.C. § 2000e-2(e)(1); see Kamehameha Sch., 990 F.2d at 465.9 Secular organizations may rely on the BFOQ exception. See Kern v. Dynalectron Corp., 577 F.Supp. 1196 (N.D.Tex. 1983), aff'd, 746 F.2d 810 (5th Cir.1984) (holding that a helicopter company was entitled to require that all pilots flying into Mecca convert to Islam because under Saudi Arabian law non-Muslims were forbidden to enter Mecca on penalty of death). If World Vision does not qualify for the 2000e~l exemption, it may well have a strong argument that belief in World Vision’s Statement of Faith or the Apostles’ Creed is a BFOQ for employees directly involved in carrying out World Vision’s religiously-motivated humanitarian mission by offering humanitarian outreach and, where appropriate, Christian ministry to poor families. See Pime v. Loyola Univ. of Chi, 803 F.2d 351 (7th Cir.1986) (holding that membership in the Jesuit order was a BFOQ for filling tenure-track professorships because maintaining an adequate Jesuit presence was important to the successful operation of a Jesuit-affiliated university).
The overall statutory scheme of Title VII makes clear that the religion-based exceptions are narrowly tailored to achieve distinct purposes. As any organization may, under the BFOQ provision, base particular hiring decisions on religious affiliation to the extent required by operational necessity, § 2000e-l(a) serves the distinct purpose of permitting organizations exclusively devoted to propagating religion to conduct all their activities within a community composed wholly of coreligionists. For such entities, “[determining that certain activities are in furtherance of an organization’s religious mission, and that only those committed to that mission should conduct them, is [] a means by which a religious community defines itself.” Corp. of the Presiding Bishop of the Church of Jesus Christ of Latter-day Saints v. Amos, 483 U.S. 327, 342, 107 S.Ct. 2862, 97 L.Ed.2d 273 (1987) (Brennan, J., concurring). The language and overall structure of Title VII indicate that *1142Congress believed only entities like churches, whose religious character is so pervasive that it defines their entire organizational mission and daily activities, stand in need of this organization-wide exemption.
Identifying the interaction of these exemptions responds to Judge Kleinfeld’s concern that a Protestant religious association might be required to hire atheists, Jews, or Catholics to perform Protestant missionary work. Concurrence of Klein-feld, J., at 12562-63. First, such a group may fit within § 2000e-l(a) if organized for the dissemination of religious doctrine. Second, an association falling outside the narrow confines of § 2000e-l(a) might still argue that religious affiliation is a BFOQ for employees performing missionary work.
Townley’s statement, reaffirmed in Kaviehameha Schools, that the exemption is limited to churches and similar entities is thus entirely consistent with the commonly understood meaning of the terms in the provision and the structure of the statute as a whole. To stretch the exemption, as my colleagues now do, to encompass entities organized around secular activities conducted with an assertedly religious motivation surely violates Congress’s intent.
V.
My colleagues’ approach is not only at odds with our precedent and the plain meaning of the statute. The attempt to escape from our precedent is driven by the misguided thesis that any inquiry into the activities of an avowedly religious organization is constitutionally suspect. Although the majority would subvert our precedent and the plain meaning of the statute in the name of a nonexistent constitutional problem, these new tests fail to resolve the constitutional issue that troubles my colleagues.
1.
Under the newly minted standards proffered by Judges O’Scannlain and Kleinfeld, we must accept without inquiry the parties’ own characterizations of particular institutional attributes as either religious or secular, as any judicial analysis of a purportedly religious organization’s activities or purpose is “constitutionally troublesome.” Maj. Op. at 1115. The majority invokes Amos for this proposition, but Amos is not controlling in this case. All the parties in Amos agreed that the employer, a nonprofit gymnasium wholly owned by the Mormon Church, was entitled to the religious organization exemption. Amos, 483 U.S. at 331 n. 3, 107 S.Ct. 2862. The issue of how to assess which organizations are within the religious exemption was thus not before the Court.10
Instead, the question in Atoos was whether Congress’s expansion of the exemption to permit religious organizations to discriminate with respect to non-religious jobs unconstitutionally advanced religion in violation of the Establishment Clause. Id. at 330, 107 S.Ct. 2862. So, when the Supreme Court in Amos stated that “it is a significant burden on a religious organization to require it, on pain of substantial liability, to predict which of its activities a secular court will consider religious,” id. at 336,107 S.Ct. 2862, it was not *1143demarcating the constitutional boundaries of the judicial inquiry into whether an institution qualified as religious. Moreover, the opinion for the Court expressly assumed that the prior version of the exemption, which previously applied only to the religious activities of religious employers, id. at 333 n. 9, 107 S.Ct. 2862, did not raise any constitutional free exercise issue. Id. at 336,107 S.Ct. 2862. Amos held only that the broader, amended version of the exemption satisfied the test of Lemon v. Kurtzman, 403 U.S. 602, 91 S.Ct. 2105, 29 L.Ed.2d 745 (1971), and so was not an establishment of religion. Noting that lessening government interference with religious organizations’ ability to conduct their missions was a permissible governmental purpose under Lemon, the Court held that, even assuming the earlier version of the statute was all that the religion clauses required, the burden enunciated above was adequate to justify Congressional action. Id. at 335-36, 91 S.Ct. 2105. Approving Congress’s efforts to minimize inquiry into the activities of concededly religious organizations does not establish that such an inquiry would be constitutionally invalid, or that similar concerns arise when ascertaining whether a purportedly religious organization is in fact religious within the meaning of § 2000e-l(a). In short, Amos is of little relevance to the question of statutory interpretation we face.
The majority also cites NLRB v. Catholic Bishop, 440 U.S. 490, 502, 99 S.Ct. 1313, 59 L.Ed.2d 533 (1979), for the proposition that “the very process of inquiry leading to findings and conclusions” with respect to the secular or religious nature of a particular activity impinges on First Amendment rights. Maj. Op. at 1116-17. Catholic Bishop, however, reflects concerns directed at “the critical and unique role of the teacher in fulfilling the mission of a church-operated school.” Id. at 501, 99 S.Ct. 1313; see also Universidad Central de Bayamon v. NLRB, 793 F.2d 383, 404 (1st Cir.1986) (en banc) (“[T]he Supreme Court was not concerned simply with general state regulation of a religious educational institution .... the Court saw teachers in parochial schools as essentially servants of the Church in carrying outfthe schools’] religious missions.”). We have accordingly declined to apply Catholic Bishop to employees other than teachers in religious schools. See NLRB v. Hanna Boys Ctr., 940 F.2d 1295, 1301 (9th Cir. 1991) (“Other employees of parochial schools, whether professional or ‘blue collar,’ are expressly excluded from the ruling.” (citation omitted)). And, in contrast to § 2000e-l(a), which exempts all employees of religious organizations, Catholic Bishop left intact the National Labor Relations Board’s jurisdiction over non-teacher employees of religious organizations.
Moreover, Catholic Bishop’s rule of constitutional avoidance is only available when it rests on a “plausible interpretation[ ] of a statutory text.” Clark v. Suarez Martinez, 543 U.S. 371, 381, 125 S.Ct. 716, 160 L.Ed.2d 734 (2005). Catholic Bishop found no Congressional intent embodied in the National Labor Relations Act to subject teachers in church-operated schools to the jurisdiction of the National Labor Relations Board. Here, Congress’s clear intent was to prohibit discrimination on the basis of religion, 42 U.S.C. § 2000e-2(a), subject only to a narrow exemption. As I have explained, the text of that exemption reveals that it was applicable to organizations devoted to worship and religious instruction — “churches, synagogues, and the like, and organizations closely affiliated with those entities.” Townley, 859 F.2d at 618. As the constitutional avoidance canon is “a means of giving effect to congressional intent, not of subverting it,” Clark, 543 U.S. at 382, 125 S.Ct. 716, it cannot be relied on to create a test for the Title VII *1144religious organization exemption at odds with the language of the statute.
The majority also maintains that Larson v. Valente, 456 U.S. 228, 102 S.Ct. 1673, 72 L.Ed.2d 33 (1982), prohibits any inquiry into whether World Vision is owned by, affiliated with, or financially supported by churches, because such an inquiry would require drawing impermissible distinctions between different religious groups. Maj. Op. at 1117-18. In fact, the Town-ley! Kamehameha Schools approach in no way conflicts with Larson.
Larson stands only for the undisputed premise that statutes that make “explicit and deliberate distinctions between different religious organizations” are subject to strict scrutiny. 456 U.S. at 246 n. 23, 102 S.Ct. 1673. There, the statute at issue distinguished on its face between religious groups that were primarily member-funded and those that were not. Section 2000e-l(a) contains no such distinctions.
Nor does the Townley/Kamehameha Schools approach rest on “overt discrimination against a particular church,” Lynch v. Donnelly, 465 U.S. 668, 679, 104 S.Ct. 1355, 79 L.Ed.2d 604 (1984), in any other respect. Kamehameha Schools specifically noted that the Schools had never been controlled or supported by a religious group and that they were unaffiliated with any religious group. 990 F.2d at 461; see also Townley, 859 F.2d at 619. This observation does not require a comparison between well-established churches and new ones, or a distinction between organizations owned or financially supported by a single church and those receiving support from a broad spectrum of churches (as in Larson), or between any other religions or types of religions. Instead, our precedents merely posit that an entity with close affiliations with churches is more likely to be primarily religious than an entity that has none at all.11 See Killinger v. Samford Univ., 113 F.3d 196, 199 (11th Cir.1997) (considering, as evidence that a university was primarily religious under § 2000e-l(a), the fact that the university reported financially to the Alabama Baptist State Board of Missions and the Alabama Baptist State Convention). And, despite the majority’s concern, the affiliation factor does not favor institutions with a denominational affiliation; an organization could present evidence of affiliation by showing that it is financially or program-matically accountable to several churches rather than just one. Here, the record does not show that World Vision answers financially or programmatically to any of the churches with which it “partners.”
The majority is thus left to rely on out-of-circuit cases that interpret statutes other than Title VII. None are directly relevant, and the constitutional precepts underlying those cases are inapplicable here even by analogy.
Colorado Christian University v. Weaver, 534 F.3d 1245 (10th Cir.2008), concerned a statute that required state officials to analyze whether university theology courses “tend to indoctrinate or proselytize,” necessitating an inquiry into “how religious beliefs are derived.” Id. at 1261-62 (quotation omitted). No such inquiry is required by the Townley/Kame-hameha Schools functional, multifactor approach.
University of Great Falls v. NLRB, 278 F.3d 1335 (D.C.Cir.2002), and Bayamon, 793 F.2d 383 (1st Cir.1986) (en banc), are not pertinent because they concerned admittedly religious organizations: universities operated by Catholic orders.12 See *1145Univ. of Great Falls, 278 F.3d at 1338; Bayamon, 793 F.2d at 399-400. Moreover, both cases relied on Catholic Bishop’s interpretation of the National Labor Relations Act, which, unlike Title VII, did not delineate the scope of the exemption for religious organizations — much less do so using terms that have long applied to a narrow group of entities' — and exempted teachers in church-run schools precisely because their role inevitably contained a religious component. Finally, these cases lend little support to the majority’s holding, as both depend on the affiliation factor that the majority does not adopt and deems overly intrusive. Maj. Op. at 1116— 17. See Univ. of Great Falls, 278 F.3d at 1343-44 (“It is undisputed that the University is affiliated with a recognized religious organization, that is, the Catholic Order of the Sisters of Providence.” (quotations and ellipses omitted)); Bayamon, 793 F.2d at 399-400 (emphasizing that “[ajdministra-tive control of the University lies in the hands of members of the Dominican Order”).
In sum, none of the cases the majority relies on as supporting new tests for applying the religious organization exemption would have traction even if we were free to rely on the doctrine of constitutional avoidance in this case — which, given the clarity of the language of the Title VII religious organization exemption, we are not.
2.
More broadly, adjudicating Establishment and Free Exercise Clause claims inevitably requires distinguishing between the religious and the secular by, for example, asking whether a law evinces the purpose or has the effect of promoting religion. See, e.g., Zelman v. Simmons-Harris, 536 U.S. 639, 648-49, 122 S.Ct. 2460, 153 L.Ed.2d 604 (2002); Edwards v. Aguillard, 482 U.S. 578, 591, 107 S.Ct. 2573, 96 L.Ed.2d 510 (1987) (invalidating a state law which required schools to teach creationism if they chose to include evolution in their curricula because it was motivated by “the teachings of certain religious denominations”); Stone v. Graham, 449 U.S. 39, 41, 101 S.Ct. 192, 66 L.Ed.2d 199 (1980) (“The pre-eminent purpose for posting the Ten Commandments on schoolroom walls is plainly religious in nature.”). Preserving the proper balance and distance between church and state necessarily involves courts in examining activities that are avowedly connected to religion, particularly where the organization invokes religion to seek an exemption from otherwise applicable law. See Hanna Boys Ctr., 940 F.2d at 1303 (upholding the NLRB’s findings of facts and rejecting the Center’s contention that child care workers were “intimately involved with the students as spiritual and theological mentors”); Westchester Day Sch. v. Vill. of Mamaroneck, 386 F.3d 183, 190 &amp; n. 4 (2d Cir.2004) (suggesting that the Religious Land Use and Institutionalized Persons Act requires courts to distinguish between secular and religious purposes, as “not every activity carried out by a religious entity ... constitutes ‘religious exercise’” (quoting 146 Cong. Rec. S7774-01, S7776 (July 27, 2000))); Dole v. Shenandoah Baptist Church, 899 F.2d 1389, 1397 (4th Cir.1990) (concluding, in rejecting a church-owned school’s claim that the Free Exercise Clause precluded application of the Fair Labor Standards Act to its teachers, that “[t]he pay requirements at issue do not cut to the heart of Shenandoah beliefs”).
Moreover, adjudication of Free Exercise and Establishment Clause claims sometimes requires courts to determine whether religious beliefs are sincerely held, see, e.g., Patrick v. LeFevre, 745 F.2d 153, 157 (2d Cir.1984), and to inspect a religious belief to decide whether it has been substantially burdened by state action. See, e.g., May v. Baldwin, 109 F.3d 557, 562-63 *1146(9th Cir.1997) (discussing the significance of dreadlocks within the Rastafarian religion); Ford v. McGinnis, 352 F.3d 582, 593-94 (2d Cir.2003) (discussing the importance of observing the Eid ul Fitr feast to the plaintiffs practice of Islam). When determining whether an entity is covered by an exemption that, by its express terms, applies only to religious organizations, “federal courts cannot always avoid taking a stand on a religious question.” Tomic v. Catholic Diocese of Peoria, 442 F.3d 1036, 1039 (7th Cir.2006).
Indeed, Title VII’s other religious organization exceptions require judicial inquiry of the kind that the majority condemns as constitutionally invalid. To apply the ministerial exception doctrine, for example, we examine the actual functions of the employees said to be within the exception. See Elvig, 375 F.3d at 958 (noting that courts “look[] to the function of the position rather than to ordination in deciding whether the ministerial exception applies to a particular employee’s Title VII claim”); see also Dole, 899 F.2d at 1396 (rejecting application of the ministerial exception to teachers who “perform no sacerdotal functions ... [and] belong to no clearly delineated religious order”); EEOC v. Mississippi Coll., 626 F.2d 477, 485 (5th Cir.1980) (“The faculty members ... neither attend to the religious needs of the faithful nor instruct students in the whole of religious doctrine.”). Civil courts are “incompetent judges of matters of faith, discipline, and doctrine,” Watson, 80 U.S. at 732 (quotations omitted), but whether a particular church employee functions as a minister is a non-doctrinal matter.
It cannot be, as the majority suggests, Maj. Op. at 1116, that courts are constitutionally prohibited from ascertaining a purportedly religious organization’s purpose when the test for assessing “whether [ ] government entanglement with religion is excessive” requires courts to “examine the character and purposes of the institutions” involved. Lemon, 403 U.S. at 615, 91 S.Ct. 2105. If any judicial action beyond simply accepting the representations of a purportedly religious organization were “constitutionally troublesome,” courts would be incapacitated entirely from policing the boundaries of the constitution’s religion clauses. Avoiding entirely such inquiry cannot be the fulcrum for an otherwise implausible statutory interpretation.
3.
Finally, even if the majority’s theory— that Townley and Kamehameha Schools’ functional inquiry requires both impermissible differentiation between religions and unavoidable intrusion into doctrinal matters' — -were correct, the proposed solutions do not solve the problem my colleagues perceive. Our case law applying the statutory exemption only to churches and entities like churches is in fact less intrusive than the tests my colleagues would adopt. While Judges O’Scannlain and Kleinfeld purport to avoid judicial entanglement in religious doctrine by deferring entirely to the self-characterization of any organization seeking to claim the exemption, that approach would inevitably require courts to “troll[] through a person’s or institution’s religious beliefs,” Mitchell v. Helms, 530 U.S. 793, 828, 120 S.Ct. 2530, 147 L.Ed.2d 660 (2000), if it is to be applied in any meaningful way.
To see why, let us suppose that, after our decision in Townley, the mining company’s owners reincorporated the entity as a nonprofit and revised its articles of incorporation to describe its purpose as “sharing the Gospel of the Lord Jesus Christ by creating a community of individuals with common religious beliefs and providing a means for them to advance God’s purpose *1147and fulfill their corporeal needs by joining in the manufacture of mining equipment.” The Townleys could then come before us and point out that the organization’s articles of incorporation include “a self-identified religious purpose,” and its conduct, including holding weekly prayer sessions and extending financial support for churches and other religious entities, is “consistent with and in furtherance of’ that religious purpose. Finally, by including Gospel tracts in all outgoing mail and printing Bible verses on all documents, Townley could maintain that it “holds itself out to the public as religious.” See Opinion of O’Scannlain, J., at 1119; Concurrence of Kleinfeld, J., at 1133.
Under my colleagues’ proposed standards, we would then have no choice but to consider whether the revisions in the mining manufacturer’s format and self-presentation qualify it as a “religious corporation.” Do the corporation’s activities sufficiently further its “self-identified religious purpose,” in light of the fact that there is only the most tenuous relationship between that purpose and manufacturing mining equipment? Such an inquiry would necessarily require an intrusive assessment into the import and sincerity of the proffered religious beliefs. And were we to reject such an inquiry as constitutionally prohibited, we would be forced to disregard the fact that the manufacture of equipment remains the organization’s primary operational pursuit and that there is nothing more than the asserted religious beliefs of the organization’s founders to connect that secular activity to the stated religious purpose. Yet, under our precedent such beliefs, even if sincere, “are simply not enough ... to make [a] corporation ‘religious’ within the meaning of [the statute].” Townley, 859 F.2d at 619.
Judge Kleinfeld suggests that “looking at how an institution charges” remedies this problem: “If money is not available as an incentive, that is strong evidence, in the purportedly religious institution, that exercise of religion is the objective.” Concurrence of Kleinfeld, J., at 1132. In many cases this observation is undoubtably true. But just as nonprofit status is often a poor indicator of religious purpose, so too is an answer to the question whether the entity engages in the “exchange of goods or services for money beyond nominal amounts.” Id. at 1133. The mining company in Townley could establish an entity satisfying Judge Kleinfeld’s standard, with a purportedly religious purpose. Such an entity could still have a business impact, by reflecting positively on the profit-making company’s corporate image and boosting the company’s bottom line. Judge Klein-feld’s solution, then, would not resolve my concerns with the majority’s standards.
In contrast, the approach mandated by Townley and Kamehameha Schools allows us to ensure that the exemption is applied narrowly without delving into sensitive doctrinal matters. See Jones, 443 U.S. at 603-05, 99 S.Ct. 3020 (approving an approach that applied neutral legal principles to a church schism dispute, rejecting the dissent’s suggestion that “a rule of compulsory deference [to religious authority] would somehow involve less entanglement of civil courts in matters of religious doctrine”). That approach does not require analysis of “how religious beliefs are derived” or whether the organization’s “actions were mandated by its religious creeds.” Colo. Christian Univ., 534 F.3d at 1262, 1264 (quotations, citations and brackets omitted). Nor does it demand that we define “who is a ‘Christian.’ ” Id. at 1265. Instead, our precedent focuses on observable, functional, and largely self-reported attributes such as an institution’s daily activities and the documents and procedures that govern them, the community it serves, and its formal affiliation with religious bodies or lack thereof. And *1148it is an inquiry with a focus, directed at the ultimate end of deciding whether the organization is a church or church-like organization — that is, an organization traditionally referred to as a “religious corporation, association ... or society.” 42 U.S.C. § 2000e-l(a). In undertaking that inquiry, we decidedly do not presume to “decide what policies are entailed by ... the institution’s religious beliefs.” Colo. Christian Univ., 534 F.3d at 1264.
To the extent that the majority’s concern that our inquiry requires excessive entanglement in religious doctrine has any validity, a different approach might address these concerns while preserving Congress’s intent with respect to the exemption’s scope. If we were at liberty to alter the inquiry established in Townley and Kamehameha Schools, I would suggest that we ask only whether the primary activity of a purportedly religious organization consists of voluntary gathering for prayer and religious learning. This approach would even better match our analysis to the centuries-old definition of religious society while avoiding the questions of affiliation and purpose that, however unnecessarily, trouble the majority.13 But I am no more free to adopt that approach than my colleagues are to adopt theirs. Moreover, as the Townley/Kamehameha Schools approach is focused on answering the same essential question — whether the institution in question possesses the centuries' — old characteristics of a “religious society” — I would adhere to our precedents, which adequately narrow our inquiry to avoid any significant court entanglement in religious doctrine.
4.
I conclude by applying the analysis our precedent requires to determine whether World Vision is a religious organization within the meaning of § 2000e-l(a). World Vision’s Christian beliefs are strongly evident in its articles of incorporation, operational policy, and other foundational documents. It hires only co-reli-gionists and provides religious services, albeit for staff only. Indeed, “staff spiritual formation” is a major part of World Vision’s religious programming.14
Still, World Vision is not managed, controlled, or operated by, or affiliated with, any particular church. World Vision “partners” with a broad variety of churches — not only the Protestant churches that share World Vision’s faith, but also Catholic, Muslim, and Jewish religious groups. World Vision is not at all accountable to these churches but only to its own Board of Directors. The Board “must have representation from ... church and ministry leadership,” but also from non-church personnel who have worked among the poor, have experience in financial management, and have ties to a “major donor community.”
World Vision claims that 84% of its private cash contributions come from churches or individual coreligionists that share its faith but points to nothing besides the conclusory statements of World Vision officers (“We know that our supporters are committed Christians”) for the proposition that individual donors are motivated to give by their shared faith. Moreover, cash contributions account for *1149less than half of World Vision’s revenue, with the remainder coming from government grants and gifts-in-kind.
World Vision provides some religious materials to those it assists in the countries where it provides humanitarian aid, through programs like “Youth Bible Curriculum,” “Community Bible Reading,” “Scripture Search,” and “Children in Christ.” World Vision’s Church Partnerships are intended to “help churches of every denomination work effectively together.” 'While World Vision maintains that it “could” include prayer services in its charitable work, the record contains only one description of such an event.
Moreover, World Vision does not represent that church outreach or other explicitly Christian work comprises the majority of its daily operations. Instead, the vast majority of World Vision’s work consists of humanitarian relief, including “provid[ing] school supplies, clothes, toys, household goods and building supplies,” to U.S. citizens and providing potable water, emergency medical care, and vocational training to refugees and vulnerable populations throughout the world, distributing condoms to reduce the spread of HIV among sex workers, improving the transparency and responsiveness of legislative bodies, improving child and maternal health, and preventing HIV infection.
Ultimately, I am convinced that, considering the factors emphasized in Townley and Kamehameha Schools, World Vision is not a religious corporation, association or society within the meaning of § 2000e-1(a). Instead, World Vision’s purpose and daily operations are defined by a wide range of humanitarian aid that is, on its face, secular. Although World Vision maintains that “Christian witness” is “integrated within” these activities, World Vision’s definition of “Christian witness” encompasses all humanitarian acts, from digging a well to providing food and water to the hungry. So this circular argument leads nowhere. Only the personal religious beliefs of World Vision staff differentiate these humanitarian acts from the “ministry” that could, as World Vision concedes, be provided by people of all faiths or no faith. In short, World Vision is nothing like a church, but resembles in its primary activities a wide range of charitable organizations.
I have no doubt that “World Vision’s theology compels it to serve the physical needs of the poor in the name of Jesus Christ,” and I do not attempt to define “what does or does not have religious meaning” to religious adherents. New York v. Cathedral Acad., 434 U.S. 125, 133, 98 S.Ct. 340, 54 L.Ed.2d 346 (1977). Townley reminds us, however, that deeply-held religious beliefs do not, if combined with primarily secular activities, make the organization religious within the meaning of the statute. 859 F.2d at 619. For this reason, Judge Kleinfeld’s proposal — namely, asking whether the entity “engage[s] primarily or substantially in the exchange of goods or services for money beyond nominal amounts” — does not reconcile his concurrence with Tovm-ley. Answering this question may illuminate an organization’s motivations, but it does not transform an entity performing primarily secular activities into one organized for worship, religious study, or the dissemination of religious doctrine.
This same principle is reflected elsewhere in our case law dealing with religious exemptions. In Volunteers of America, Los Angeles (VOA) v. NLRB, 777 F.2d 1386 (9th Cir.1985), a church-operated social services agency claimed that the National Labor Relations Board’s exercise of jurisdiction over its employees was unconstitutional. The VOA contended, as World Vision does here, that its “activities are an integral, inseparable function of its avowed *1150principle of serving God by serving humanity, and of serving God and humanity by deed and example.” Id. at 1389 (quotations omitted). We held that because “[t]he VOA’s social programs are expressive of a religious philosophy but are carried out in a secular fashion,” Board jurisdiction did not pose a significant risk of entanglement. Id. at 1390. In St. Elizabeth Community Hosp. v. NLRB, 708 F.2d 1436 (9th Cir.1983), we upheld Board jurisdiction over a hospital affiliated with the Sisters of Mercy, a Catholic order. Despite this affiliation, the presence of crucifixes and other religious symbols throughout the hospital, and the hospital’s practice of beginning staff meetings with prayer, we held that “St. Elizabeth does not have a substantial religious character. Its primary purpose, like that of any secular hospital, is rather humanitarian, devoted to medical care for the sick.” Id. at 1441.
More generally, we may completely credit the sincerity of religious faith, and adherents’ belief that them faith mandates certain activities while still determining that the religious belief does not preclude the application of a neutral, secular law. “[Government simply could not operate if it were required to satisfy every citizen’s religious needs and desires.” Lyng v. Nw. Indian Cemetery Protective Ass’n, 485 U.S. 439, 452, 108 S.Ct. 1319, 99 L.Ed.2d 534 (1988). It may be that World Vision’s staff would prefer to associate only with coreligionists. But it has not alleged that requiring them to adhere to Title VII would burden théir free exercise of religion. And it is farfetched to believe that preventing World Vision from firing administrative assistants, schedulers and facilities managers because they do not subscribe to a particular Christian doctrine would render World Vision’s mission statement nothing more than a “meaningless,” “nostalgic slogan,” as World Vision maintains.
Conclusion
Title VII’s prohibition on religious discrimination aims to protect the religious freedom of employees by insulating their religious beliefs from their economic well-being. That is why “[a]ny exemption from Title VII’s proscription on religious discrimination necessarily has the effect of burdening the religious liberty of prospective and current employees.” Amos, 483 U.S. at 340, 107 S.Ct. 2862 (Brennan, J., concurring). Section 2000e-l(a) reflects Congress’s recognition that for a small group of employers' — organizations devoted to prayer and religious instruction — the requirement to accommodate employees of different faiths could represent an unwarranted intrusion into the organizations’ own freedom of religion. For those groups, on balance, the restriction of the relatively few affected jobs to those with approved religious beliefs is tolerable.
My colleagues may wish to expand that narrow exemption to nonprofits that assert they are motivated by religious principles. But that interpretation would severely tip the balance away from the pluralistic vision Congress incorporated in Title VII, toward a society in which employers could self-declare as religious enclaves from which dissenters can be excluded despite their ability to do the assigned secular work as well as religiously acceptable employees. The consequence would be a broadened impact on the religious freedom of employees and prospective employees, who would feel compelled to reshape their religious beliefs so as to assure their economic survival.
With competing religious freedom concerns thus embedded in the delineation of a religious organization exemption, Congress struck a balance, in part by including another statutory exception to minimize interference with organizations that do not qualify for the complete exemption from *1151Title VII’s prohibition on religious discrimination but in which certain job functions have a bona fide religious component. In striking this balance, Congress used language with a sufficiently long pedigree and established meaning to make the narrow scope of the full exemption quite clear.
I would hew to the line Congress drew and this court has heretofore respected; my colleagues would not. I respectfully dissent.

. I refer to § 2000e-l(a) as the "religious organization exemption.” It is the broadest of several Title VII provisions, discussed below, that carve out religious entities for special treatment. Only § 2000e-l(a) permits religious organizations to hire and fire on the basis of religion without regard to the employee’s function within the organization.


. The majority characterizes this inquiry as assessing the "quantum” of "admittedly religious activity at the school.” Maj. Op. 1118 n. 11. The observation that the Schools' religious studies program was "largely comparative” and involved no instruction in Protestant doctrine, however, entails an assessment of the nature — the quality — of the allegedly religious activity, not merely its quantity.


. The district court’s reliance on LeBoon v. Lancaster Jewish Community Center Association, 503 F.3d 217 (3d Cir.2007), was error not because LeBoon used slightly different factors to assess whether the organization was primarily religious but because the Third Circuit’s refusal to read the statutory exemption as narrowly focused on churches and entities similar to churches, see id. at 2131, directly conflicts with our precedents, as I explain infra in Part III.


. The majority discounts the language in Townley limiting the exemption to churches and church-like entities because it occurred within a discussion of the provision’s legislative history — a discussion, as we later observed in Kamehameha Schools, 990 F.2d at 460-61 n. 5, upon which our holding in Townley did not depend. Yet, Townley did not rely solely on legislative history to conclude that the exemption was narrowly applicable to churches and related entities, but also upon cases interpreting the statute, which "demonstrate that the central function of [the provision] has been to exempt churches, synagogues, and the like, and organizations closely affiliated with those entities.” Townley, 859 F.2d at 618. Moreover, as I discuss below, the legislative history confirms that Congress used the terms "religious corporation, association, educational institution, or society” as they were commonly understood rather than in some specialized sense unique to Title VII and is useful to that degree.


. Contrary to the majority’s assertion, Maj. Op. at 1113, there is an obvious reason why Congress did not use the word “church” in enacting the religious corporation exemption: It describes a place where Christians pray. See Merriam-Webster Collegiate Dictionary 205 (10th ed.1993) (defining “church” as "a building for public and especially] Christian worship”). Jews, Muslims, Buddhists, and adherents of many other religions do not worship at churches, but they do form societies for the purpose of prayer and religious instruction. Moreover, "church” commonly refers to a physical entity, as the definition above indicates, while Congress sought to exempt groups organized for worship or religious study. Accordingly, I agree with Judge Kleinfeld that organizations such as the Falun Gong, the Quakers, or Mother Theresa’s mission should not be classed as secular solely because certain of their activities occur outside of a physical church. See Concurrence of Kleinfeld, J„ at 1129-30.


. Because World Vision does not claim to be an "educational institution,” the common law meaning of that term is not directly relevant here. Still, like religious societies and associations, religious educational institutions are groups organized for worship, religious study, or the dissemination of religious doctrine. The term therefore falls neatly within the nos-citur a sociis canon of statutory construction.


. The very existence of treatises on the law of religious corporations, published long before Title VII’s enactment, demonstrates the pedigree and settled meaning of the term.


. Contrary to Judge Kleinfeld’s concurrence, the narrow scope of the religious organization exemption accords with Title VII’s definition of ''religion” as including "all aspects of religious observance and practice.” See Concurrence of Kleinfeld, J., at 1128 (citing 42 U.S.C. § 2000e(j)). This statutory definition applies to use of the term "religion” throughout Title VII, including to the general prohibition against discrimination in employment practices because of an individual's religion. 42 U.S.C. § 2000e-2. This definition, however, sheds no light on the scope of the exemption from the prohibition against religious discrimination. The current dispute concerns the meaning of "religious corporation, association ... or society,” not the term "religion.”


. This subsection also contains a clause permitting educational institutions affiliated with a particular religion, or teaching a curriculum directed toward propagating a particular religion, to hire and employ on the basis of religion. 42 U.S.C. § 2000e-2(e)(2). This exception overlaps with the inclusion of “educational institution'' in the exemption at § 2000e-l(a). See Kamehameha Sch., 990 F.2d at 464 (concluding that the Schools were not exempt under the religious curriculum exception). As World Vision does not claim to be exempt as a religious educational institution, the scope and impact of the possible redundancy regarding religious educational institutions is not relevant to our analysis.


. Indeed, Justice Brennan’s repeated reference to "churches” demonstrates that his solicitude for religious organizations' right to define themselves by restricting their community to coreligionists was reserved for churches and their subsidiaries. See, e.g., Amos, 483 U.S. at 342-43, 107 S.Ct. 2862 (Brennan, J., concurring) (“While a church may regard the conduct of certain activities as integral to its mission, a court may disagree.”) (emphasis added); see also id. at 342-45, 107 S.Ct. 2862 (seven other references to "church” in Justice Brennan’s concurring opinion).


. The affiliation element can be dispositive where, as in Amos, the organization claiming the exemption is a wholly-owned subsidiary of a recognized religious body.


. Bayamon, moreover, was the product of an evenly divided en banc panel, so neither of the two opinions is one for the court.


. Contrary to the majority's assertion, see Maj. Op. at 1117 n. 8, "prayer” provides a judicially cognizable standard. See Simpson v. Chesterfield County Bd. of Supervisors, 404 F.3d 276, 280 (4th Cir.2005) (noting that Marsh v. Chambers, 463 U.S. 783, 792, 103 S.Ct. 3330, 77 L.Ed.2d 1019 (1983), "defines ... prayer as an act to 'invoke Divine guidance' ”).


. When a World Vision officer was asked about conducting religious services in conjunction with humanitarian outreach, she responded by citing the weekly chapel services for staff.

